
79 So. 3d 946 (2012)
Michelle WADE, Petitioner,
v.
DEPARTMENT OF CHILDREN AND FAMILIES; Our Kids, Inc., Respondents.
No. 1D11-6034.
District Court of Appeal of Florida, First District.
February 23, 2012.
Bernard Perlmutter and Robert A. Latham, Coral Gables; and Angela Vigil of Baker &amp; McKenzie, LLP, Miami, for Petitioner.
Pamela Jo Bondi, Attorney General, and Charlyne Patterson, Assistant Attorney General, Tallahassee, for Respondents.
PER CURIAM.
The petition for writ of mandamus is denied without prejudice to presenting the argument set forth therein in the pending appeal of the agency's final order. See Noack v. Blue Cross and Blue Shield of Florida, Inc., 872 So. 2d 370 (Fla. 1st DCA 2004) (where an adequate remedy can be afforded on plenary appeal, mandamus relief is unwarranted).
VAN NORTWICK, LEWIS, and SWANSON, JJ., concur.
